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                                    Presentment Date and Time: August 28, 2017 at 11:00 a.m. (Eastern Time)
                                              Objection Deadline: August 25, 2017 at 4:00 p.m. (Eastern Time)
               Hearing Date and Time (Only if Objection Filed): September 7, 2017 at 11:00 a.m. (Eastern Time)


 WEIL, GOTSHAL & MANGES LLP
 767 Fifth Avenue
 New York, New York 10153
 Telephone: (212) 310-8000
 Facsimile: (212) 310-8007
 Gary T. Holtzer
 Robert J. Lemons
 Garrett A. Fail

 Attorneys for Debtors
 and Debtors in Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------------ x
 In re:                                                       :       Chapter 11
                                                              :
 WESTINGHOUSE ELECTRIC COMPANY :                                      Case No. 17-10751 (MEW)
 LLC, et al.,                                                 :
                                                              :
                                                              :
                   Debtors.   1                               :       (Jointly Administered)
                                                              :
 ------------------------------------------------------------ x

           NOTICE OF PRESENTMENT OF APPLICATION OF DEBTORS
       PURSUANT TO 11 U.S.C. §§ 327(a) AND 328, FED. R. BANKR. P. 2014(a)
  AND 2016, AND LOCAL RULES 2014-1 AND 2016-1 FOR AUTHORITY TO EMPLOY
  AND RETAIN DELOITTE FINANCIAL ADVISORY SERVICES LLP AS FINANCIAL
   ADVISORY SERVICES PROVIDER NUNC PRO TUNC TO THE PETITION DATE


 1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, if any, are: Westinghouse Electric Company LLC (0933), CE Nuclear Power International, Inc. (8833),
 Fauske and Associates LLC (8538), Field Services, LLC (2550), Nuclear Technology Solutions LLC (1921), PaR
 Nuclear Holding Co., Inc. (7944), PaR Nuclear, Inc. (6586), PCI Energy Services LLC (9100), Shaw Global
 Services, LLC (0436), Shaw Nuclear Services, Inc. (6250), Stone & Webster Asia Inc. (1348), Stone & Webster
 Construction Inc. (1673), Stone & Webster International Inc. (1586), Stone & Webster Services LLC (5448),
 Toshiba Nuclear Energy Holdings (UK) Limited (N/A), TSB Nuclear Energy Services Inc. (2348), WEC Carolina
 Energy Solutions, Inc. (8735), WEC Carolina Energy Solutions, LLC (2002), WEC Engineering Services Inc.
 (6759), WEC Equipment & Machining Solutions, LLC (3135), WEC Specialty LLC (N/A), WEC Welding and
 Machining, LLC (8771), WECTEC Contractors Inc. (4168), WECTEC Global Project Services Inc. (8572),
 WECTEC LLC (6222), WECTEC Staffing Services LLC (4135), Westinghouse Energy Systems LLC (0328),
 Westinghouse Industry Products International Company LLC (3909), Westinghouse International Technology LLC
 (N/A), and Westinghouse Technology Licensing Company LLC (5961). The Debtors’ principal offices are located
 at 1000 Westinghouse Drive, Cranberry Township, Pennsylvania 16066.



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                     PLEASE TAKE NOTICE that on August 28, 2017 at 11:00 a.m. (Eastern

 Time), the undersigned will present the Application of Debtors Pursuant to 11 U.S.C. §§ 327(a)

 and 328(a), Fed. R. Bankr. P. 2014(a) and 2016, and Local Rules 2014-1 and 2016-1 for

 Authority to Employ and Retain Deloitte Financial Advisory Services LLP as Financial Advisory

 Services Provider Nunc Pro Tunc to the Petition Date (the “Application”) to the Honorable

 Michael E. Wiles, United States Bankruptcy Judge, in Room 617 of the United States

 Bankruptcy Court for the Southern District of New York, located at One Bowling Green, New

 York, New York, 10004 (the “Bankruptcy Court”).

                     PLEASE TAKE FURTHER NOTICE that any responses or objections

 (the “Objections”) to the Application must be in writing, shall conform to the Federal Rules of

 Bankruptcy Procedure and the Local Bankruptcy Rules, and shall be filed with the Bankruptcy

 Court (a) by attorneys practicing in the Bankruptcy Court, including attorneys admitted pro hac

 vice, electronically in accordance with General Order M-399 (which can be found at

 www.nysb.uscourts.gov), and (b) by all other parties in interest, on a CD-ROM, in text-

 searchable portable document format (PDF) (with a hard copy delivered directly to Chambers),

 in accordance with the customary practices of the Bankruptcy Court and General Order M-399,

 to the extent applicable, and served in accordance with General Order M-399 and the Order

 Pursuant to 11 U.S.C. § 105(a) and Fed. R. Bankr. P. 1015(c), 2002(m), and 9007 Implementing

 Certain Notice and Case Management Procedures [ECF No. 101] so as to be received no later

 than August 25, 2017 at 4:00 p.m. (Eastern Time) (the “Objection Deadline”).

                     PLEASE TAKE FURTHER NOTICE that if no Objections are timely filed and

 served with respect to the Application, the Debtors may, on or after the Objection Deadline,




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 submit to the Bankruptcy Court an order substantially in the form of the proposed order annexed

 to the Application, which order may be entered with no further notice or opportunity to be heard.

 Dated: August 11, 2017
        New York, New York


                                               /s/ Robert J. Lemons
                                               Gary T. Holtzer
                                               Robert J. Lemons
                                               Garrett A. Fail
                                               WEIL, GOTSHAL & MANGES LLP
                                               767 Fifth Avenue
                                               New York, New York 10153
                                               Telephone: (212) 310-8000
                                               Facsimile: (212) 310-8007

                                               Attorneys for Debtors
                                               and Debtors in Possession




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                                    Presentment Date and Time: August 28, 2017 at 11:00 a.m. (Eastern Time)
                                              Objection Deadline: August 25, 2017 at 4:00 p.m. (Eastern Time)
               Hearing Date and Time (Only if Objection Filed): September 7, 2017 at 11:00 a.m. (Eastern Time)

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 Gary T. Holtzer
 Robert J. Lemons
 Garrett A. Fail

 Attorneys for Debtors
 and Debtors in Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------------ x
 In re:                                                       :       Chapter 11
                                                              :
 WESTINGHOUSE ELECTRIC COMPANY :                                      Case No. 17-10751 (MEW)
 LLC, et al.,                                                 :
                                                              :
                                                              :
                   Debtors.1                                  :       (Jointly Administered)
                                                              :
 ------------------------------------------------------------ x

                     APPLICATION OF DEBTORS PURSUANT
        TO 11 U.S.C. §§ 327(a) AND 328, FED. R. BANKR. P. 2014(a) AND 2016,
       AND LOCAL RULES 2014-1 AND 2016-1 FOR AUTHORITY TO EMPLOY
   AND RETAIN DELOITTE FINANCIAL ADVISORY SERVICES LLP AS FINANCIAL
    ADVISORY SERVICES PROVIDER NUNC PRO TUNC TO THE PETITION DATE



 1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, if any, are: Westinghouse Electric Company LLC (0933), CE Nuclear Power International, Inc. (8833),
 Fauske and Associates LLC (8538), Field Services, LLC (2550), Nuclear Technology Solutions LLC (1921), PaR
 Nuclear Holding Co., Inc. (7944), PaR Nuclear, Inc. (6586), PCI Energy Services LLC (9100), Shaw Global
 Services, LLC (0436), Shaw Nuclear Services, Inc. (6250), Stone & Webster Asia Inc. (1348), Stone & Webster
 Construction Inc. (1673), Stone & Webster International Inc. (1586), Stone & Webster Services LLC (5448),
 Toshiba Nuclear Energy Holdings (UK) Limited (N/A), TSB Nuclear Energy Services Inc. (2348), WEC Carolina
 Energy Solutions, Inc. (8735), WEC Carolina Energy Solutions, LLC (2002), WEC Engineering Services Inc.
 (6759), WEC Equipment & Machining Solutions, LLC (3135), WEC Specialty LLC (N/A), WEC Welding and
 Machining, LLC (8771), WECTEC Contractors Inc. (4168), WECTEC Global Project Services Inc. (8572),
 WECTEC LLC (6222), WECTEC Staffing Services LLC (4135), Westinghouse Energy Systems LLC (0328),
 Westinghouse Industry Products International Company LLC (3909), Westinghouse International Technology LLC
 (N/A), and Westinghouse Technology Licensing Company LLC (5961). The Debtors’ principal offices are located
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 TO THE HONORABLE MICHAEL E. WILES,
 UNITED STATES BANKRUPTCY JUDGE:

                     Westinghouse Electric Company LLC and certain debtor affiliates, as debtors and

 debtors in possession in the above-captioned chapter 11 cases (collectively, the “Debtors”),

 respectfully represent as follows in support of this application (the “Application”):

                                                  Background

                     1.        On March 29, 2017 (the “Petition Date”), each Debtor commenced with

 this Court a voluntary case under chapter 11 of title 11 of the United States Code

 (the “Bankruptcy Code”). The Debtors are authorized to continue to operate their businesses

 and manage their properties as debtors in possession pursuant to sections 1107(a) and 1108 of

 the Bankruptcy Code. No trustee or examiner has been appointed in these chapter 11 cases.

                     2.        The Debtors’ chapter 11 cases are being jointly administered for

 procedural purposes only pursuant to Rule 1015(b) of the Federal Rules of Bankruptcy

 Procedure (the “Bankruptcy Rules”).

                     3.        On April 7, 2017, the United States Trustee for Region 2 appointed the

 Official Committee of Unsecured Creditors (the “Committee”) pursuant to section 1102 of the

 Bankruptcy Code.

                     4.        Additional information regarding the Debtors’ business, capital structure,

 and the circumstances leading to the commencement of these chapter 11 cases is set forth in the

 Declaration of Lisa J. Donahue Pursuant to Rule 1007-2 of the Local Bankruptcy Rules for the

 Southern District of New York, sworn to and filed on the Petition Date [ECF No. 4].

                                                  Jurisdiction

                     5.        This Court has jurisdiction to consider this matter pursuant to 28 U.S.C.

 §§ 157(a)-(b) and 1334(b) and the Amended Standing Order of Reference M-431, dated January

                                                        2

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 31, 2012 (Preska, C.J.). This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is

 proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                                Relief Requested

                     6.        By this application, pursuant to sections 327(a) and 328 of title 11 of the

 United States Code (the “Bankruptcy Code”), Rules 2014(a) and 2016 of the Federal Rules of

 Bankruptcy Procedure (the “Bankruptcy Rules”), and Rules 2014-1 and 2016-1 of the Local

 Bankruptcy Rules for the Southern District of New York (the “Local Rules”), the Debtors

 request authority to retain and employ Deloitte Financial Advisory Services LLP (“Deloitte

 FAS”) to provide certain necessary financial advisory services to the Debtors in accordance with

 the terms and conditions of that certain engagement letter dated as of March 11, 2016, including

 any amendments and schedules thereto (the “Engagement Letter”), nunc pro tunc to the

 Petition Date.

                     7.        A proposed form of order granting the relief requested herein on a final

 basis is annexed hereto as Exhibit A (the “Proposed Order”).

                     8.        In support of this Application, the Debtors submit the declaration of

 Steven F. Stanton, a managing director of Deloitte FAS (the “Stanton Declaration”) annexed

 hereto as Exhibit B.

                                         Deloitte FAS’s Qualifications

                     9.        The Debtors seek to employ and retain Deloitte FAS to provide necessary

 financial advisory services to the Debtors because of its considerable experience in advising

 debtors and creditor constituencies and providing a broad range of financial advisory services in

 large and complex chapter 11 cases throughout the United States.




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                     10.       Deloitte FAS has provided various professional services to the Debtors

 since approximately 2009. In providing such prepetition professional services to the Debtors,

 Deloitte FAS has become familiar with the Debtors and their financial affairs, debt structure,

 business operations, and related matters.           Having worked with the Debtors’ management,

 Deloitte FAS has developed relevant experience and knowledge regarding the Debtors that will

 assist it in providing effective and efficient services during the Chapter 11 Cases. Accordingly,

 Deloitte FAS is both well-qualified and able to provide the services for the Debtors during the

 pendency of these chapter 11 cases (the “Chapter 11 Cases”) in an efficient and timely manner

 and it is in the best interests of the Debtors’ estates and creditors to employ and retain Deloitte

 FAS to provide necessary financial advisory services to the Debtors. Deloitte FAS’s services

 fulfill an important need and are not provided by any of the Debtors’ other professionals of the

 type proposed hereunder and because of its knowledge about, and understanding of, the Debtors’

 businesses because of the work Deloitte FAS has performed for the Debtors in the past.

                                      Services Provided by Deloitte FAS

                     11.       Subject to the Court’s approval of the Application, Deloitte FAS has

 agreed to provide professional services to the Debtors pursuant to the terms and conditions of the

 Engagement Letter. These services will include reviewing and analyzing financial information

 and other data in connection with the purchase price adjustment between Westinghouse Electric

 Company (“WEC”) and Chicago Bridge & Iron related to the acquisition of outstanding equity

 interests of CB&I Stone & Webster, Inc.

                                   Efforts to Avoid Duplication of Services

                     12.       The services performed by Deloitte FAS are intended to complement, not

 unnecessarily duplicate or overlap with, other services performed by any other professional


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 retained by the Debtors in these Chapter 11 Cases.2 As set forth in the Stanton Declaration,

 Deloitte FAS understands that the Debtors have retained and may retain additional professionals

 during the term of the Engagement Letter will use its reasonable efforts to work cooperatively

 with the Debtors to avoid unnecessary duplication of services.

                                          Professional Compensation

                     13.       As set forth in the Stanton Declaration, and subject to Court approval, the

 Debtors understand and have agreed that Deloitte FAS will apply to the Court for allowances of

 compensation and reimbursement of expenses in accordance with General Order M-412 (Order

 Establishing Procedures for Monthly Compensation and Reimbursement of Expenses of

 Professionals, dated December 21, 2010 (Gonzalez, C.J.)), Administrative Order M-447

 (Amended Guidelines for Fees and Disbursements for Professionals in Southern District of New

 York Bankruptcy Cases, dated January 29, 2013 (Morris, C.J.)), and the U.S. Trustee Guidelines

 for Reviewing Applications for Compensation and Reimbursement of Expenses Filed Under 11

 U.S.C. § 330 (Appendix A to 28 C.F.R. § 58) (collectively, the “Fee Guidelines”), the

 applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, the Order

 Pursuant to 11 U.S.C. §§ 105(a), 330, 331, Fed R. Bankr. P. 2016, and Local Rule 2016-1

 Establishing Procedures for Interim Compensation and Reimbursement of Expenses of

 Professionals [ECF No. 544] (the “Interim Compensation Order”), and any other applicable

 orders of the Court, both in connection with the Application and the interim and final fee

 applications to be filed by Deloitte in these Chapter 11 Cases, in accordance with the terms and

 conditions of the Engagement Letters. Moreover, the Debtors are advised that Deloitte FAS


 2    Jeffrey Egertson, a retired partner of Deloitte & Touche LLP, is working with Deloitte FAS and providing
      certain dispute consulting services for the Debtors. Mr. Egertson has a separate agreement with the Debtors that
      provides that he will bill them directly for any professional services rendered to the Debtors.

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 intends to make a reasonable effort to comply with the U.S. Trustee’s requests for information

 and additional disclosures as set forth in the Fee Guidelines.

                     14.       Subject to the provisions of the Bankruptcy Code, the Bankruptcy Rules,

 the Local Rules, and the Fee Guidelines, the Debtors propose to compensate Deloitte FAS in

 accordance with the its customary terms and conditions of employment, including the proposed

 compensation agreements as set forth in the Engagement Letter.

                     15.       Pursuant to the terms of the Engagement Letter, Deloitte FAS agreed to

 charge the Debtors the applicable hourly billing rates by classification of personnel with respect

 to such services, set forth in the table below.

                 Personnel Classification                                 Hourly Rates
       Partner/Principal/Managing Director                                   $ 592
       Senior Manager                                                        $ 513
       Manager                                                               $ 473
       Senior Associate                                                      $ 406
       Associate                                                             $ 340

                     16.       Hourly rates are revised periodically in the ordinary course of Deloitte

 FAS’s business. Deloitte FAS shall advise the Debtors of any new rates should it institute a rate-

 change during the Chapter 11 Cases. Such changes will be noted on the invoices for the first

 time period in which a revised rate becomes effective.

                     17.       In addition to the rates set forth above, the Debtors propose to reimburse

 Deloitte FAS for all actual, reasonable and necessary expenses incurred by Deloitte FAS in

 connection with the professional services performed, including, but not limited to, expenses

 incurred on account of travel and lodging, data processing and storage, and communications

 charges, courier services, and other similar expenses incurred on behalf of the Debtors.

                     18.       The Debtors are advised that Deloitte FAS intends to file interim and final

 fee applications for the allowance of compensation for the services rendered and reimbursement
                                                        6

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 of expenses incurred in accordance with applicable provisions of the Bankruptcy Code, the

 Bankruptcy Rules, the Bankruptcy Local Rules, and any applicable orders of the Court, including

 the Interim Compensation Oder and the Order granting this application (to the extent compliance

 is not waived), and/or any guidelines issued by the Office of the U.S. Trustee.

                     19.       The Debtors are advised that Deloitte FAS will maintain records in

 support of any fees incurred in connection with the services it performs in the Chapter 11 Cases

 by category and nature of the services rendered, and will provide reasonably detailed

 descriptions of those services rendered on behalf of the Debtors, the time expended in provided

 those services, and the individuals who provided professional services on behalf of the Debtors.

 Deloitte FAS will present such records to the Court in its fee applications to the Court. Deloitte

 FAS requests that the invoices, after appropriate review, be paid in a manner consistent with the

 payment of other retained professionals in this matter, consistent with any administrative orders,

 if any, that would apply to interim payments. All payments rendered pursuant to Deloitte FAS’s

 retention by the Debtors must be approved by an order of this Court and based upon the filing by

 Deloitte FAS of appropriate interim and final applications for allowance of compensation and

 reimbursement of expenses.

                     20.       The fee structure summarized above is consistent with Deloitte FAS’s

 customary billing practices for comparable engagements.             Moreover, the fee structure is

 consistent with and typical of arrangements entered into by Deloitte FAS with the rendering of

 comparable services to clients such as the Debtors. The Debtors submit that the Fee Structure is

 fair and reasonable and market-based under the standards set forth in section 328(a) of the

 Bankruptcy Code.




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                     21.       The Debtors propose that all compensation and expenses will be sought in

 accordance with section 328(a) of the Bankruptcy Code and will not be subject to any other

 standard of review, including section 330 of the Bankruptcy Code. The Debtors also propose

 that, notwithstanding Deloitte FAS’s retention under section 328(a), the U.S. Trustee will retain

 the right to object to the compensation to be paid to Deloitte FAS pursuant to the Engagement

 Letter based on the reasonableness standard provided for in section 330 of the Bankruptcy Code;

 provided that reasonableness for this purpose shall include, among other things, an evaluation by

 comparing the fees payable in this case to the fees paid to other comparable firms for comparable

 services in other chapter 11 cases and outside of chapter 11 cases, and shall not be evaluated

 primarily on the basis of time committed or the length of these cases.

                     22.       Deloitte FAS and Deloitte Transactions and Business Analytics LLP

 (“DTBA”), an affiliate of Deloitte FAS, provided prepetition services to the Debtors. In the

 ninety (90) days prior to the Petition Date, the Debtors paid Deloitte FAS $2,291,566, including

 the application of retainer amounts, and DTBA $628,399. As of the Petition Date, no amounts

 were outstanding with respect to the invoices issued by DTBA, and $196,978 was outstanding

 with respect to the invoices issued and/or work performed by Deloitte FAS.

                     23.       Prior to the Petition Date, Deloitte Consulting LLP (“Deloitte

 Consulting”) and Deloitte Tax LLP (“Deloitte Tax”), affiliates of Deloitte FAS, each provided

 certain professional services to the Debtors. In the ninety (90) days prior to the Petition Date, the

 Debtors paid Deloitte Tax $9,022 for services performed. The Debtors did not make any

 payments to Deloitte Consulting during this period. As of the Petition Date, no amounts were

 outstanding with respect to the invoices issued by Deloitte Consulting. As of the Petition Date,

 $3,119 was outstanding with respect to the invoice(s) issued by Deloitte Tax.


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                     24.       Some services incidental to the tasks to be performed by Deloitte FAS in

 the Chapter 11 Cases may be performed by personnel now employed by or associated with

 affiliates of Deloitte FAS, such as DTBA, Deloitte & Touche LLP, Deloitte Tax and Deloitte

 Consulting, and/or their respective subsidiaries, including subsidiaries located outside of the

 United States.

                     25.       The Debtors are advised that Deloitte FAS has received no promises

 regarding compensation in the Chapter 11 Cases other than in accordance with the Bankruptcy

 Code and as set forth in this Declaration. Deloitte FAS has no agreement with any nonaffiliated

 or unrelated entity to share any compensation earned in the Chapter 11 Cases.

                                       Deloitte FAS’s Disinterestedness

                     26.       As set forth in the Stanton Declaration, and upon review of its client

 database, Deloitte FAS has learned that it has, has had, or will have a business relationship with

 certain creditors of the Debtors, as well as various other parties potentially adverse to the Debtors

 in matters unrelated to the Chapter 11 Cases. However, Deloitte FAS has represented to the

 Debtors that (a) neither Deloitte FAS, nor any partner, principal, or managing Director of

 Deloitte FAS that is anticipated to provide the services for which Deloitte FAS is to be retained

 (the “Engagement Partners/Principals/Managing Directors”) holds any interest adverse to the

 Debtors; and (b) Deloitte FAS and the Engagement Partners/Principals/Managing Directors have

 no relationship to the Debtors, their significant creditors, certain other significant parties-in—

 interest, or to the attorneys that are known to be assisting the Debtors in the Chapter 11 Cases,

 except as set forth in the Stanton Declaration. Moreover, to the extent the Application is granted,

 the Debtors have been advised that Deloitte FAS will not seek to recover amounts invoiced and

 owing for professional services rendered prior to the Petition Date.


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                     27.       Accordingly, to the best of the Debtors’ knowledge and except to the

 extent disclosed herein and in the Stanton Declaration: (i) Deloitte FAS is a “disinterested

 person” within the meaning of section 101(14) of the Bankruptcy Code, as required by section

 327(a) of the Bankruptcy Code and does not hold or represent an interest adverse to the Debtors’

 estates; and (ii) Deloitte FAS has no connection to the Debtors, their creditors, the U.S. Trustee,

 or any other party with a significant interest in the Debtors’ cases or their attorneys or

 accountants except as may be disclosed in the Stanton Declaration. To the extent that any new

 relevant facts or relationships bearing on the matters described herein during the period of the

 Debtors’ retention are discovered or arise, Deloitte FAS will use reasonable efforts to file

 promptly a supplemental declaration, as required by Bankruptcy Rule 2014(a).

                                          Basis for Relief Requested

                     28.       The Debtors seek authority to employ and retain Deloitte FAS for

 financial advisory services under section 327 of the Bankruptcy Code, which provides that a

 debtor is authorized to employ professional persons “that do not hold or represent an interest

 adverse to the estate, and that are disinterested persons, to represent or assist the [Debtor] in

 carrying out the [Debtor’s] duties under this title.” 11 U.S.C. § 327(a).

                     29.       The Debtors seek approval of the fee structure and related compensation

 terms set forth in the Engagement Letter pursuant to section 328(a) of the Bankruptcy Code,

 which provides, in relevant part, that the Debtors “with the court’s approval, may employ or

 authorize the employment of a professional person under section 327 . . . on any reasonable

 terms and conditions of employment, including on a retainer, on an hourly basis, on a fixed or

 percentage fee basis, or on a contingent fee basis.” 11 U.S.C. § 328(a). Accordingly, section




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 328 of the Bankruptcy Code permits the compensation of professionals, including tax service

 providers, on flexible terms that reflect the nature of their services and market conditions.

                     30.       The compensation arrangement set forth in the Engagement Letter sets

 forth reasonable terms and conditions of employment and should be approved under section

 328(a) of the Bankruptcy Code. The fee and expense structure adequately reflects: (i) the nature

 of the services to be provided by Deloitte FAS; and (ii) fee and expense structures typically

 utilized by Deloitte FAS and other leading financial advisory service providers. In addition, as

 noted above, Deloitte FAS is “disinterested” and all of its fees and expenses are subject to

 approval of the Court in accordance with the Bankruptcy Code, the Bankruptcy Rules, the Local

 Rules, the Fee Guidelines, and any applicable law or further orders of the Court.

                     31.       Accordingly, the Debtors submit that the relief requested in the

 Application is in the best interests of their estates, creditors, and all parties-in-interest in these

 chapter 11 cases, and the Court should approve the employment and retention of Deloitte FAS

 pursuant to the terms set forth in the Engagement Letter, nunc pro tunc to the Petition Date.

                                                    Notice

                     32.       Notice of this Application will be provided to the Rule 2002 Parties set

 forth in the Order Pursuant to 11 U.S.C. § 105(a) and Fed. R. Bankr. P. 1015(c), 2002(m), and

 9007 Implementing Certain Notice and Case Management Procedures [ECF No. 101]. The

 Debtors submit that, in view of the facts and circumstances, such notice is sufficient and no other

 or further notice need be provided.

                     33.       No previous request for the relief sought herein has been made by the

 Debtors to this or any other Court.




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                     WHEREFORE the Debtors respectfully request entry of the Proposed Order and

 such other and further relief as the Court may deem just and appropriate.


 Dated: August 11, 2017
        New York, New York


                                               WESTINGHOUSE ELECTRIC COMPANY, LLC
                                               (for itself and on behalf of its affiliates
                                               as Debtors and Debtors in Possession)

                                              /s/ Lisa J. Donahue
                                              NAME: Lisa J. Donahue
                                              TITLE: Chief Transition and Development Officer




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                                             Exhibit A

                                          Proposed Order




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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
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 In re:                                                       :        Chapter 11
                                                              :
 WESTINGHOUSE ELECTRIC COMPANY :                                       Case No. 17-10751 (MEW)
 LLC, et al.,                                                 :
                                                              :
                                                              :
                   Debtors.1                                  :        (Jointly Administered)
                                                              :
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   ORDER PURSUANT TO 11 U.S.C. §§ 327(A) AND 328, FED. R. BANKR. P. 2014(A)
  AND 2016, AND LOCAL RULES 2014-1 AND 2016-1 FOR AUTHORITY TO EMPLOY
  AND RETAIN DELOITTE FINANCIAL ADVISORY SERVICES LLP AS FINANCIAL
   ADVISORY SERVICES PROVIDER NUNC PRO TUNC TO THE PETITION DATE

                     Upon the application (the “Application”),2 dated August 11, 2017 of

 Westinghouse Electric Company LLC and certain debtor affiliates, as debtors and debtors in

 possession in the above-captioned chapter 11 cases (collectively, the “Debtors”), pursuant to

 sections 327(a) and 328(a) of title 11 of the United States Code (the “Bankruptcy Code”),

 Rule 2014 and 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”)

 and Rule 2014-1 and 2016-1 of the Local Rules of Bankruptcy Practice and Procedure of the

 United States Bankruptcy Court for the Southern District of New York (the “Local Rules”) for

 1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, if any, are: Westinghouse Electric Company LLC (0933), CE Nuclear Power International, Inc. (8833),
 Fauske and Associates LLC (8538), Field Services, LLC (2550), Nuclear Technology Solutions LLC (1921), PaR
 Nuclear Holding Co., Inc. (7944), PaR Nuclear, Inc. (6586), PCI Energy Services LLC (9100), Shaw Global
 Services, LLC (0436), Shaw Nuclear Services, Inc. (6250), Stone & Webster Asia Inc. (1348), Stone & Webster
 Construction Inc. (1673), Stone & Webster International Inc. (1586), Stone & Webster Services LLC (5448),
 Toshiba Nuclear Energy Holdings (UK) Limited (N/A), TSB Nuclear Energy Services Inc. (2348), WEC Carolina
 Energy Solutions, Inc. (8735), WEC Carolina Energy Solutions, LLC (2002), WEC Engineering Services Inc.
 (6759), WEC Equipment & Machining Solutions, LLC (3135), WEC Specialty LLC (N/A), WEC Welding and
 Machining, LLC (8771), WECTEC Contractors Inc. (4168), WECTEC Global Project Services Inc. (8572),
 WECTEC LLC (6222), WECTEC Staffing Services LLC (4135), Westinghouse Energy Systems LLC (0328),
 Westinghouse Industry Products International Company LLC (3909), Westinghouse International Technology LLC
 (N/A), and Westinghouse Technology Licensing Company LLC (5961). The Debtors’ principal offices are located
 at 1000 Westinghouse Drive, Cranberry Township, Pennsylvania 16066.

 2 Capitalized terms not otherwise defined herein shall have the definitions ascribed to them in the Application.




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 authority to employ and retain Deloitte Financial Advisory Services LLP (“Deloitte FAS”) to

 provide certain necessary financial advisory services to the Debtors in accordance with the terms

 and conditions of that certain engagement letter dated as of March 11, 2016, including any

 amendments and schedules thereto (the “Engagement Letter”), nunc pro tunc to March 29,

 2017 (the “Petition Date”), as more fully set forth in the Application and the Declaration of

 Steven F. Stanton (the “Stanton Declaration”); and the Court being satisfied, based on the

 representations made in the Application and in the Stanton Declaration, that Deloitte FAS is a

 “disinterested person” as such term is defined in section 101(14) of the Bankruptcy Code, as

 modified by section 1107(b) of the Bankruptcy Code, and, as required by section 327(a) of the

 Bankruptcy Code and referenced by section 328 of the Bankruptcy Code, neither represents nor

 holds an interest adverse to the Debtors or their estates; and the Court having jurisdiction to

 consider the Application and the relief requested therein in accordance with 28 U.S.C. §§ 157(a)-

 (b) and 1334(b) and the Amended Standing Order of Reference M-431, dated January 31, 2012

 (Preska, C.J.); and consideration of the Application and the relief requested therein being a core

 proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper before this Court pursuant to

 28 U.S.C. §§ 1408 and 1409; and notice of the Application having been given as provided in the

 Application, and such notice having been adequate and appropriate under the circumstances; and

 it appearing that no other or further notice of the Application need be provided; and the Court

 having found and determined that the relief sought in the Application and granted herein is in the

 best interests of the Debtors, their respective estates and creditors, and all parties in interest, and

 that the legal and factual bases set forth in the Application establish just cause for the relief

 granted herein; and after due deliberation and sufficient cause appearing therefor,




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           IT IS HEREBY ORDERED THAT:

                     1.        The Application is granted to the extent set forth herein.

                     2.        The Debtors are authorized, but not directed, pursuant to sections 327(a)

 and 328 of the Bankruptcy Code, Bankruptcy Rules 2014(a) and 2016, and Local Rules 2014-1

 and 2016-1, to retain and employ Deloitte FAS to provide certain necessary financial advisory

 services to the Debtors on an hourly basis, in accordance with the terms and conditions of the

 Engagement Letter, including without limitation, the compensation terms set forth therein, nunc

 pro tunc to the Petition Date, and to pay fees and reimburse expenses to Deloitte FAS on the

 terms set forth in the Engagement Letter, subject to the further limits set forth in the Application

 and in this Order. For the avoidance of doubt, this Order approves the terms on which post-

 petition services are being provided but it does not authorize an assumption of any executory

 contracts. Deloitte FAS shall not seek recovery of any unpaid professional fees owed to Deloitte

 FAS that accrued prior to the Petition Date.

                     3.        Except as set forth herein, the terms of the Engagement Letter are

 reasonable terms and conditions of employment and are approved.

                     4.        Deloitte FAS shall file interim and final fee applications for allowance of

 compensation for services rendered and reimbursement of expenses incurred (including, without

 limitation, the reasonable fees, and other charges of Deloitte FAS’s counsel, which counsel shall

 not be required to be retained pursuant to section 327 of the Bankruptcy Code or otherwise) in

 accordance with sections 330 and 331 of the Bankruptcy Code, the Bankruptcy Rules, the Local

 Rules, applicable law and any applicable orders of this Court.

                     5.        Notwithstanding anything to the contrary contained herein, the U.S.

 Trustee retains all rights to respond or object to Deloitte FAS’s interim and final applications for


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 compensation and reimbursement of out-of-pocket expenses based on the reasonableness

 standard in section 330 of the Bankruptcy Code.

                     6.        Deloitte FAS shall include in its fee applications, among other things, time

 records setting forth, in summary format, a description of the services rendered by each

 professional, and the time expended on each date by each such individual in rendering services

 on behalf of the Debtors in one-tenth hour increments.

                     7.        Prior to increasing any rates set forth in the Engagement Letter or the

 Application, Deloitte FAS shall file a supplemental declaration with the Court and give ten (10)

 business days’ notice to the Debtors, and the U.S. Trustee, which supplemental declaration shall

 explain the basis for the requested rate increases in accordance with section 330(a)(3)(F) of the

 Bankruptcy Code and indicate whether the Debtors have received notice of and approved the

 proposed rate increase.

                     8.        The indemnification provisions set forth in the General Business Terms

 Appendix to the Engagement Letter are approved subject to the following modifications with

 respect to the services performed thereunder after the Petition Date and prior to the effective date

 of any plan of reorganization of the Debtors:

                               a.     All requests for payment of indemnity, contribution, or otherwise
                                      pursuant to the Indemnification Provisions shall be made by means
                                      of a final fee application and shall be subject to the approval of,
                                      and review by, the Court to ensure that such payment conforms to
                                      the terms of the Indemnification Provisions, the Bankruptcy Code,
                                      the Bankruptcy Rules, the Local Bankruptcy Rules, and other
                                      orders of this Court and is reasonable based on the circumstances
                                      of the litigation or settlement in respect of which indemnity is
                                      sought; provided, however, that in no event shall an indemnified
                                      party be indemnified or receive contribution to the extent that any
                                      claim arose or expense has resulted for any such losses finally
                                      judicially determined by a court of competent jurisdiction to have
                                      primarily resulted from the breach of contract, gross negligence,
                                      willful misconduct, or fraud of any indemnified parties;
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                               b.    In no event shall any indemnified parties be indemnified or receive
                                     contribution or other payment under the Indemnification
                                     Provisions if the Debtors or a representative of the Debtors’ estates
                                     asserts a claim for, and a court determines by a final order that
                                     such claims primarily arose out of, such person’s breach of
                                     contract, gross negligence, willful misconduct, or fraud of any
                                     Indemnified Parties;

                               c.    In the event an indemnified party seeks reimbursement of
                                     attorneys’ fees from the Debtors pursuant to the indemnification
                                     provisions, the invoices and supporting time records from such
                                     attorneys shall be attached to Deloitte FAS’s own interim and final
                                     fee applications, and such invoices and time records shall be
                                     subject to the United States Trustee guidelines and the approval of
                                     the Bankruptcy Court under the standards of section 330 of the
                                     Bankruptcy Code without regard to whether such attorneys have
                                     been retained under section 327 of the Bankruptcy Code and
                                     without regard to whether such attorneys’ services satisfy section
                                     330(a)(3)(C) of the Bankruptcy Code.

                               d.    Any provision of the Engagement Letter or General Business
                                     Terms that purports to limit the amount of liability of Deloitte
                                     FAS, or that purports to limit the types of damages that may be
                                     awarded in an action against Deloitte FAS shall be of no effect and
                                     shall be deemed to have been deleted.

                               e.    Any provision of the Engagement Letter or General Business
                                     Terms relating to expense policies and reimbursements shall be
                                     subject to the applicable Guidelines set forth in the Local Rules
                                     and General Orders of this Court.

                     9.        The Engagement Letter is modified as follows with respect to services

 performed thereunder for the Debtors after the Petition Date and through the effective date of

 any plan of reorganization:

                               a.    Paragraph 8 of the General Business Terms shall be deemed
                                     deleted and replaced with the following:

                                     Nothing contained in the Engagement Letter shall alter in any way
                                     the duties imposed by law on Advisor in respect of the Services
                                     provided hereunder. It is understood and agreed that, with respect
                                     to the relationship between Advisor, on the one hand, and
                                     Company, on the other hand, each party hereto is an independent
                                     contractor and neither party is nor shall be considered to be, nor

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                                      shall purport to act as, the other’s agent, distributor, partner, joint
                                      venturer, or representative.

                               b.     If Deloitte FAS must respond to subpoenas or other legal process
                                      seeking documents or information it shall do so at its own expense.
                                      Any provision of the Engagement Letter that authorizes Deloitte
                                      FAS to seek payment for its professional time and expenses in
                                      connection with such requests, including out-of-pocket attorney
                                      fees, is not approved and shall not apply.

                     10.       To the extent there may be any inconsistency between the terms of the

 Application, the Engagement Letter, and this Order, this Order shall govern.

                     11.       Notwithstanding entry of this Order, nothing herein shall create, nor is

 intended to create, any rights in favor of or enhance the status of any claim held by, any party.

                     12.       Nothing contained in this Order, nor any payment made pursuant to this

 Order, shall be dispositive with respect to any future allocation of responsibility between and

 among Debtors and non-Debtors for such payment, and all rights with respect thereto are

 expressly reserved by the UCC.

                     13.       The Debtors are authorized to take all action necessary to carry out this

 Order.




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                     14.       Notwithstanding anything in the Application or the Engagement Letter to

 the contrary, during the pendency of the chapter 11 cases, this Court retains exclusive

 jurisdiction over all matters arising out of and/or pertaining to Deloitte FAS’s engagement. Any

 provision of the Engagement Letter that provides for mediation or arbitration or for jurisdiction

 in a different court shall not be applicable unless this Court lacks jurisdiction pursuant to the

 previous sentence.



 Dated: _______________, 2017
        New York, New York
                                                    ____________________________________
                                                    UNITED STATES BANKRUPTCY JUDGE




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                                             Exhibit B

                                        Stanton Declaration




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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
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 In re:                                                       :       Chapter 11
                                                              :
 WESTINGHOUSE ELECTRIC COMPANY :                                      Case No. 17-10751 (MEW)
 LLC, et al.,                                                 :
                                                              :
                                                              :
                   Debtors.1                                  :       (Jointly Administered)
                                                              :
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 DECLARATION OF STEVEN F. STANTON IN SUPPORT OF THE APPLICATION OF
  DEBTORS PURSUANT TO 11 U.S.C. §§ 327(a) AND 328, FED. R. BANKR. P. 2014(a)
 AND 2016, AND LOCAL RULES 2014-1 AND 2016-1 FOR AUTHORITY TO EMPLOY
     AND RETAIN DELOITTE FINANCIAL ADVISORY SERVICES LLP FOR
  FINANCIAL ADVISORY SERVICES NUNC PRO TUNC TO THE PETITION DATE

           I, Steven F. Stanton, under penalty of perjury, declares as follows:

           1. I am a managing director of the firm of Deloitte Financial Advisory Services LLP

 (“Deloitte FAS”), which has an office at 555 12th Street NW, Suite 400, Washington, D.C.

 20004. I am duly authorized to make and submit this declaration (the “Declaration”) on behalf

 of Deloitte FAS as financial service provider to Westinghouse Electric Company LLC and

 certain above-captioned debtors and debtors in possession (collectively, the “Debtors”) in

 support of the Application of Debtors Pursuant to 11 U.S.C. §§ 327(a) and 328(a), Fed. R.


 1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, if any, are: Westinghouse Electric Company LLC (0933), CE Nuclear Power International, Inc. (8833),
 Fauske and Associates LLC (8538), Field Services, LLC (2550), Nuclear Technology Solutions LLC (1921), PaR
 Nuclear Holding Co., Inc. (7944), PaR Nuclear, Inc. (6586), PCI Energy Services LLC (9100), Shaw Global
 Services, LLC (0436), Shaw Nuclear Services, Inc. (6250), Stone & Webster Asia Inc. (1348), Stone & Webster
 Construction Inc. (1673), Stone & Webster International Inc. (1586), Stone & Webster Services LLC (5448),
 Toshiba Nuclear Energy Holdings (UK) Limited (N/A), TSB Nuclear Energy Services Inc. (2348), WEC Carolina
 Energy Solutions, Inc. (8735), WEC Carolina Energy Solutions, LLC (2002), WEC Engineering Services Inc.
 (6759), WEC Equipment & Machining Solutions, LLC (3135), WEC Specialty LLC (N/A), WEC Welding and
 Machining, LLC (8771), WECTEC Contractors Inc. (4168), WECTEC Global Project Services Inc. (8572),
 WECTEC LLC (6222), WECTEC Staffing Services LLC (4135), Westinghouse Energy Systems LLC (0328),
 Westinghouse Industry Products International Company LLC (3909), Westinghouse International Technology LLC
 (N/A), and Westinghouse Technology Licensing Company LLC (5961). The Debtors’ principal offices are located
 at 1000 Westinghouse Drive, Cranberry Township, Pennsylvania 16066.



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 Bankr. P. 2014(a) and 2016, and Local Rules 2014-1 and 2016-1 for Authority to Employ and

 Retain Deloitte Financial Advisory Services LLP for Financial Advisory Services Nunc Pro Tunc

 to the Petition Date (the “Application”).2

           2.        The Debtors seek to retain Deloitte FAS pursuant to the terms and conditions set

 forth in the parties’ engagement letter, dated March 11, 2016 (the “Engagement Letter”), a

 copy of which is annexed to the Application as Exhibit C.

           3.        The statements set forth in this Declaration are based upon my personal

 knowledge, information and belief, the declaration of Keith Adams (the “Adams Declaration”)

 submitted in connection with the Debtors’ application to retain Deloitte Transactions and

 Business Analytics LLP (“DTBA”), an affiliate of Deloitte FAS, and client matter records kept

 in the ordinary course of business that were reviewed by me or other personnel of Deloitte FAS

 or its affiliates.

                                      Deloitte FAS’s Qualifications

           4.        Deloitte FAS has considerable experience advising debtors and creditor

 constituencies and providing a broad range of financial advisory services in large and complex

 chapter 11 cases throughout the United States. Such experience renders Deloitte FAS well-

 qualified and able to provide services to the Debtors during the pendency of these chapter 11

 cases (the “Chapter 11 Cases”) in a cost-effective, efficient, and timely manner. Deloitte FAS’s

 services fulfill an important need and are not provided by any of the Debtors’ other

 professionals.

           5.        It is my understanding that Deloitte FAS has provided various professional


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      Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
      Application.

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 services to the Debtors since approximately 2009. In providing such prepetition professional

 services to the Debtors, Deloitte FAS has become familiar with the Debtors and their financial

 affairs, debt structure, business operations, and related matters.          Having worked with the

 Debtors’ management, Deloitte FAS has developed relevant experience and knowledge

 regarding the Debtors that will assist it in providing effective and efficient services during the

 Chapter 11 Cases. Accordingly, Deloitte FAS is both well-qualified and able to provide the

 services for the Debtors during the Chapter 11 Cases in an efficient and timely manner.

                                             Disinterestedness

           6.        Subject to the foregoing, except as set forth herein and in the attachments hereto,

 to the best of my information, knowledge, and belief based on reasonable inquiry: (a) neither I,

 Deloitte FAS, nor any partner, principal, or managing director of Deloitte FAS that is anticipated

 to provide the services for which Deloitte FAS is to be retained (the “Engagement

 Partners/Principals/Managing Directors”) holds any interest adverse to the Debtors; and (b)

 Deloitte FAS and the Engagement Partners/Principals/Managing Directors have no relationship

 to the Debtors, their significant creditors, certain other significant parties-in-interest, or to the

 attorneys that are known to be assisting the Debtors in the Chapter 11 Cases, except as stated

 herein or in any attachment hereto.

           7.        From time to time, Deloitte FAS and its affiliates have provided or may currently

 provide services, and likely will continue to provide services, to certain creditors of the Debtors

 and various other parties potentially adverse to the Debtors in matters unrelated to the Chapter 11

 Cases, except as set forth herein or in the attachments hereto.

           8.        As discussed in the Adams Declaration, in connection with its proposed retention

 by the Debtors, DTBA undertook a search to determine and to disclose whether it or its affiliates,


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 including Deloitte FAS, is or has been employed by, or have any relationships with the entities

 (the “Potential Parties-in-Interest”), whose specific names were provided to DTBA by the

 Debtors. To check upon and disclose possible relationships with significant Potential Parties-in-

 Interest in the Chapter 11 Cases, DTBA researched its client databases and performed reasonable

 due diligence to determine whether it or its affiliates had any relationships with the Debtors or

 the significant Potential Parties-in-Interest.

           9.        Deloitte FAS and its affiliates have relationships with thousands of clients, some

 of which may be creditors of the Debtors or other parties-in-interest. Accordingly, Deloitte FAS

 and/or its affiliates have had, currently have and/or may have in the future banking or other

 relationships with such parties, or provided, may currently provide, and/or may provide in the

 future professional services to certain of these parties in matters unrelated to the Chapter 11

 Cases. Additionally, certain significant Potential Parties-in-Interest have or may have provided

 goods or services, may currently provide goods or services, and/or may in the future provide

 goods      or     services    to   Deloitte   FAS   and/or   its   affiliates   and   the   Engagement

 Partners/Principals/Managing Directors in matters unrelated to the Chapter 11 Cases. A listing

 of such parties is attached to this Declaration as Schedule 1.

           10.       Deloitte FAS believes that the relationships described herein or reflected on

 Schedule 1 have no bearing on the services for which Deloitte FAS’s retention is being sought by

 the Debtors in the Chapter 11 Cases. Furthermore, such relationships do not impair Deloitte

 FAS’s disinterestedness, and Deloitte FAS does not represent an adverse interest in connection

 with the Chapter 11 Cases.

           11.       Despite the efforts described above to identify and disclose Deloitte FAS’s

 connections with the significant Potential Parties-in-Interest in the Chapter 11 Cases, because


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 Deloitte FAS is a nationwide firm with many employees, Deloitte FAS is unable to state with

 certainty that every client relationship or other connection has been disclosed. In this regard, if

 Deloitte FAS discovers additional material information that it determines requires disclosure, it

 will file a supplemental disclosure promptly with the Court.

           12.       To the best of my knowledge, based on the internal search discussed above,

 Deloitte FAS has determined that certain relationships should be disclosed as follows:

                   (i)    Deloitte FAS and/or its affiliates provide services in matters unrelated to the
                          Chapter 11 Cases to certain of the Debtors’ largest unsecured creditors and
                          other Potential Parties-in-Interest or their affiliates listed on Schedule 1.

                   (ii) Law firms identified on Schedule 1, including Jones Day LLP; Kilpatrick
                        Townsend & Stockton LLP; Latham & Watkins LLP; Ogletree, Deakins,
                        Nash, Smoak & Stewart, P.C.; Parker, Poe, Adams & Bernstein LLP; Paul,
                        Weiss, Rifkind & Garrison LLP; Proskauer Rose LLP; Reed Smith LLP;
                        Seyfarth Shaw LLP; Rinaldi, Finkelstein & Franklin, LLC; Shearman &
                        Sterling LLP; Skadden, Arps, Slate, Meagher & Flom LLP; Wachtell, Lipton,
                        Rosen & Katz LLP; and Weil, Gotshal & Manges LLP, have provided,
                        currently provide and may in the future provide legal services to Deloitte FAS
                        or its affiliates in matters unrelated to the Chapter 11 Cases, and/or Deloitte
                        FAS or its affiliates have provided, currently provide and may in the future
                        provide services to such firms or their clients.

                  (iii) In the ordinary course of its business, Deloitte FAS and its affiliates have
                        business relationships in unrelated matters with its principal competitors,
                        which together with their affiliates may be Potential Parties-in-Interest in the
                        Chapter 11 Cases. For example, from time to time, Deloitte FAS and one or
                        more of such entities may work on assignments for the same client or may
                        otherwise engage each other for various purposes.

                  (iv) Certain financial institutions or their respective affiliates (including AIG;
                       Allianz Global Corporate & Specialty SE; Citibank, N.A.; ING Bank N.V.;
                       JPMorgan Chase Bank, N.A.; Insurance Company of the State of
                       Pennsylvania; Lloyd’s Syndicate; MB Financial Bank, N.A.; Metropolitan
                       Life Insurance Co.; National Union Fire Insurance, et al.; Teachers Insurance
                       and Annuity Association of America; U.S. Bank; and Wells Fargo Bank,
                       N.A.) listed on Schedule 1 (i) are lenders to an affiliate of Deloitte FAS
                       (Deloitte FAS is a guarantor of such indebtedness) and/or (ii) have financed a
                       portion of the capital and/or capital loan requirements of various partners and
                       principals, respectively, of Deloitte FAS and its affiliates.

                   (v) Certain Potential Parties-in-Interest may be adverse to and/or involved in
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                          litigation matters with Deloitte FAS or its affiliates in connection with matters
                          unrelated to the Chapter 11 Cases.

                  (vi) Certain firms around the world, including affiliates of Deloitte FAS, are
                       members of Deloitte Touche Tohmatsu Limited (“DTTL”), a United
                       Kingdom company limited by guaranty. Certain of the non-US member firms
                       of DTTL or their affiliates (the “DTT Member Firms”) have provided,
                       currently provide or may in the future provide professional services to certain
                       of the Debtors or their affiliates.3 In particular, the DTT Member Firm in
                       India (“Deloitte India”) performed tax services for certain of the Debtors.

                  (vii) I understand that the DTT Member Firm in Japan and/or its affiliates
                        (“Deloitte Japan”) has in the past provided, is currently providing and is
                        expected in the future to provide, services for Toshiba Corporation
                        (“Toshiba”), the parent entity of the Debtors, in matters unrelated to these
                        chapter 11 cases. In addition, prior to the Petition Date, I understand that
                        Deloitte Japan provided services for Toshiba related to a potential
                        restructuring of the Debtors; however, these services were completed prior to
                        the Petition Date.

                 (viii) Deloitte FAS and/or its affiliates have provided and currently provide services
                        to Toshiba and its affiliates in matters unrelated to these Chapter 11 Cases.

                  (ix) Deloitte FAS and/or its affiliates have provided and continue to provide
                          services to SCANA Corporation (“SCANA”) and Southern Company
                          Services, Inc. (“Southern”), who are members of the official committee of
                          unsecured creditors, in matters unrelated to these chapter 11 cases, including,
                          in the case of Deloitte & Touche LLP (“Deloitte & Touche”), an affiliate of
                          Deloitte FAS, acting as their independent auditor. However, in its capacity as
                          independent auditor, Deloitte & Touche is providing ordinary course
                          accounting advice and conducting typical audit procedures arising from
                          SCANA’s and Southern’s contractual arrangement with the Debtors.

                   (x)    Deloitte & Touche has provided and continues to provide audit services to
                          certain clients and/or their affiliates in matters unrelated to these Chapter 11
                          Cases. In its capacity as independent auditor, Deloitte & Touche also
                          provides such clients with ordinary course auditing services and conducts
                          typical audit procedures that may arise from such clients’ business
                          arrangements with the Debtors.

                  (xi) Deloitte FAS and/or its affiliates have provided royalty compliance services
                       for a client assessing amounts that the Debtors may owe under a license

 3    Each of the DTT Member firms is a separate and independent legal entity. It is not Deloitte FAS’s practice to
      undertake conflicts checks with DTT Member Firms for the purpose of identifying relationships that they may
      have with the Debtors and other parties-in-interest and Deloitte FAS does not maintain a database for the
      purpose of identifying all such relationships.

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                          arrangement; however, these services were completed prior to the Petition
                          Date.

                  (xii) Deloitte FAS and certain of its affiliates, including Deloitte Tax LLP
                        (“Deloitte Tax”) and Deloitte & Touche, have provided, continue to provide
                        and may in the future provide services to Apollo Global Management, LLC
                        and certain of its subsidiaries (collectively, “Apollo”) in matters unrelated to
                        these cases. Certain funds managed by Apollo are the DIP lender to the
                        Debtors, and Deloitte & Touche and certain of its affiliates may provide
                        ordinary course accounting or tax services for Apollo that may have a
                        relationship to certain of their managed funds’ investments respecting the
                        Debtors. Also, among other services, Deloitte & Touche acts as the
                        independent auditor for a number of entities either currently or formerly
                        owned by funds managed by Apollo or its principals.

                 (xiii) Deloitte FAS and/or certain of its affiliates have performed and continue to
                        perform services for Chicago Bridge & Iron (“CB&I”) in matters unrelated to
                        the Chapter 11 Cases. In 2012 and 2013, Deloitte FAS and its affiliates also
                        provided due diligence services in connection with Chicago Bridge & Iron’s
                        acquisition of Shaw Group, Inc., including valuation services performed in
                        connection with certain construction contracts, including those that were
                        subsequently sold or otherwise transferred to the Debtors, as such related to
                        the purchase price allocation reflected in CB&I’s post-acquisition balance
                        sheet.

                 (xiv) In connection with a prospective engagement that did not go forward,
                       personnel of DTBA provided some preliminary thoughts on how the team
                       would approach such an engagement, which related to matters that would
                       have involved the Debtors had the engagement been undertaken.

                  (xv) Deloitte & Touche was approved as independent auditors for Energy Future
                       Holdings Corp. and certain of its affiliates in their chapter 11 cases, in matters
                       unrelated to these Chapter 11 Cases.

                 (xvi) Deloitte FAS and/or certain of its affiliates provides financial advisory
                       services to the Pension Benefit Guaranty Corporation (the “PBGC”). The
                       Debtors and their pension plans are not the subject of these services for the
                       PBGC.

                 (xvii) Deloitte Consulting LLP (“Deloitte Consulting”), an affiliate of Deloitte
                        FAS, and certain of its affiliates, have provided and will continue to provide
                        services to the Executive Office of the United States Trustee in matters
                        unrelated to the Chapter 11 Cases.

           13.       Furthermore, through reasonable inquiry, I do not believe there is any connection

 between the personnel of Deloitte FAS or its affiliates who are anticipated to provide services to
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 the Debtors and the United States Bankruptcy Judge presiding in the Chapter 11 Cases, the U.S.

 Trustee, the Assistant United States Trustee for the Southern District of New York, and the

 attorney therefor assigned to the Chapter 11 Cases.

           14.       Except as may be disclosed herein, to the best of my knowledge, information, and

 belief, Deloitte FAS and the Engagement Partners/Principals/Managing Directors do not hold or

 represent any interest adverse to the Debtors, and I believe that Deloitte FAS and the

 Engagement Partners/Principals/Managing Directors are “disinterested persons” as that term is

 defined in section 101(14) of the Bankruptcy Code, as modified by section 1107(b) of the

 Bankruptcy Code.

                                                 Scope of Services

           15.       Subject to this Court’s approval of the Application, Deloitte FAS has agreed to

 perform financial advisory services for the Debtors in accordance with the terms and conditions

 set forth in the Engagement Letter, as requested by the Debtors. As further described in the

 Engagement Letter, Deloitte FAS shall assist the Debtors in reviewing and analyzing financial

 information and other data in connection with the purchase price adjustment between

 Westinghouse Electric Company LLC and Chicago Bridge & Iron related to the acquisition of

 outstanding equity interests of CB&I Stone & Webster, Inc.

                                  Efforts to Avoid Duplication of Services

           16.       The services performed by Deloitte FAS will not unnecessarily duplicate or

 overlap with the other services performed by the Debtors’ other retained consultants and

 advisors.4 Deloitte FAS understands that the Debtors have retained and may retain additional


 4    Jeffrey Egertson, a retired partner of Deloitte & Touche LLP, is working with Deloitte FAS and providing
      certain dispute consulting services for the Debtors. It is my understanding that Mr. Egertson has a separate
      agreement with the Debtors that provides that he will bill them directly for any professional services rendered to
      the Debtors.
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 professionals during the term of the Engagement Letter, and Deloitte FAS agrees to work

 cooperatively with the Debtors to avoid unnecessary duplication of services.

                                        Professional Compensation

           17.       Deloitte FAS’s retention by the Debtors is conditioned upon its ability to be

 retained in accordance with its terms and conditions of employment, including the proposed

 compensation arrangements, set forth in the Engagement Letter.

           18.       Pursuant to the terms of the Engagement Letter, Deloitte FAS agreed to charge

 the Debtors the applicable hourly billing rates by classification of personnel with respect to such

 services, set forth in the table below.

                 Personnel Classification                               Hourly Rates
       Partner/Principal/Managing Director                                 $ 592
       Senior Manager                                                      $ 513
       Manager                                                             $ 473
       Senior Associate                                                    $ 406
       Associate                                                           $ 340

           19.       Hourly rates are revised periodically in the ordinary course of Deloitte FAS’s

 business. Deloitte FAS shall advise the Debtors of any new rates should it institute a rate-change

 during the Chapter 11 Cases. Such changes will be noted on the invoices for the first time period

 in which a revised rate becomes effective.

           20.       In addition to the rates set forth above, the Debtors shall reimburse Deloitte FAS

 for all actual, reasonable and necessary expenses incurred by Deloitte FAS in connection with

 the professional services performed, including, but not limited to, expenses incurred on account

 of travel and lodging, data processing and storage, and communications charges, courier

 services, and other similar expenses incurred on behalf of the Debtors.

           21.       Deloitte FAS intends to file interim and final fee applications for the allowance of

 compensation for the services rendered and reimbursement of expenses incurred in accordance
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 with applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the Bankruptcy Local

 Rules, and any applicable orders of the Court, including the Interim Compensation Order and the

 Order granting this application (to the extent compliance is not waived), and/or any guidelines

 issued by the Office of the U.S. Trustee.

           22.       Deloitte FAS will maintain records in support of any fees incurred in connection

 with the services it performs in the Chapter 11 Cases by category and nature of the services

 rendered, and will provide reasonably detailed descriptions of those services rendered on behalf

 of the Debtors, the time expended in provided those services, and the individuals who provided

 professional services on behalf of the Debtors. Deloitte FAS will present such records to the

 Court in its fee applications to the Court.         Deloitte FAS requests that the invoices, after

 appropriate review, be paid in a manner consistent with the payment of other retained

 professionals in this matter, consistent with any administrative orders, if any, that would apply to

 interim payments. I understand that all payments rendered pursuant to Deloitte FAS’s retention

 by the Debtors must be approved by an order of this Court and based upon the filing by Deloitte

 FAS of appropriate interim and final applications for allowance of compensation and

 reimbursement of expenses.

           23.       The fee structure summarized above is consistent with Deloitte FAS’s customary

 billing practices for comparable engagements. Moreover, the fee structure is consistent with and

 typical of arrangements entered into by Deloitte FAS with the rendering of comparable services

 to clients such as the Debtors.

           24.       Deloitte FAS and DTBA provided prepetition services to the Debtors. In the

 ninety (90) days prior to the Petition Date, the Debtors paid Deloitte FAS $2,291,566, including

 the application of retainer amounts, and DTBA $628,399. As of the Petition Date, no amounts


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 were outstanding with respect to the invoices issued by DTBA, and $196,978 was outstanding

 with respect to the invoices issued and/or work performed by Deloitte FAS. Deloitte FAS will

 not seek any recovery with respect to such invoiced amounts.

           25.       Prior to the Petition Date, Deloitte Consulting and Deloitte Tax each provided

 certain professional services to the Debtors. In the ninety (90) days prior to the Petition Date, the

 Debtors paid Deloitte Tax $9,022 for services performed. The Debtors did not make any

 payments to Deloitte Consulting during this period. As of the Petition Date, no amounts were

 outstanding with respect to the invoices issued by Deloitte Consulting. As of the Petition Date,

 $3,119 was outstanding with respect to the invoice(s) issued by Deloitte Tax.

           26.       Some services incidental to the tasks to be performed by Deloitte FAS in the

 Chapter 11 Cases may be performed by personnel now employed by or associated with affiliates

 of Deloitte FAS, such as DTBA, Deloitte & Touche, Deloitte Tax and Deloitte Consulting,

 and/or their respective subsidiaries, including subsidiaries located outside of the United States.

           27.       Deloitte FAS has received no promises regarding compensation in the Chapter 11

 Cases other than in accordance with the Bankruptcy Code and as set forth in this Declaration.

 Deloitte FAS has no agreement with any nonaffiliated or unrelated entity to share any

 compensation earned in the Chapter 11 Cases.

           28.       Deloitte FAS respectfully requests that its retention be made effective nunc pro

 tunc to the Petition Date so that Deloitte FAS may be compensated for the professional services

 it has provided before the Application is heard by the Court. Deloitte FAS has provided services

 to the Debtors in advance of approval of this Application in anticipation that its retention would

 be approved nunc pro tunc to the Petition Date. Deloitte FAS submits that these circumstances

 are of a nature warranting retroactive approval.


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           Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

 and correct.


 Dated: August 11, 2017

                                                     /s/ Steven F. Stanton
                                                     Steven F. Stanton
                                                     Managing Director
                                                     Deloitte Financial Advisory Services LLP




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                                             Schedule 1

 Potential parties-in-interest or their affiliates for whom Deloitte FAS or its affiliates has provided
 or is currently providing services in matters unrelated to the Chapter 11 Cases, except as set forth
 above, or with whom such parties have other relationships, including banking relationships.

  1st Constitution Bank
  ABB AB
  Accenture LLP
  ACE
  ACE/Westchester
  Aecon Industrial
  Aetna Inc.
  AIG
  Air Products & Chemicals Inc.
  Airgas Inc.
  Alabama Power Company
  Alabama, State of
  Alaska, State of ‐ Corporations Business & Professional Licensing
  ALCOSAN
  AlixPartners, LLP
  Allegheny Power
  Allianz Global Corporate & Specialty SE
  Allied Waste Services
  Alvarez & Marsal Holdings, LLC
  Amec Foster Wheeler Nuclear UK Ltd.
  Amec Foster Wheeler PLC
  Ameren Missouri
  American Casualty Co. of Reading
  American Electric Power
  American Equipment Co.
  American Home Assurance Co.
  American Nuclear Insurers (ANI)
  Amlin Corporate Insurance
  Amundi Absolute Return Apollo Fund PLC
  Ansaldo
  AON Hewitt
  Apollo Investment Corporation
  AREVA
  Ariba, Inc.


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  Aricent US, Inc.
  Arizona Public Service Company
  Arizona, State of
  Arkansas, State of
  Armstrong
  AT&T
  ATI Specialty Alloys Components
  Atkins
  Avaya
  AXIS Insurance Company
  Babcock & Wilcox Nuclear Energy Inc.
  Backoffice Associates
  Baker Concrete Construction Inc.
  Banco Santander
  Bank of China
  Bank of Taiwan
  Bank of Tokyo‐Mitsubishi UFJ, Ltd.
  Basler Electric
  Battelle Memorial Institute
  Bayerische Hypo‐ und Vereinsbank AG
  BC&I Stone & Webster, Inc.
  Beacon Health Options
  Ben Franklin Design & Mfg. Co. Inc.
  Berkeley Research Group, LLC (Toshiba Advisors)
  Bishop, James E.
  Blackbox
  Blanchard Machinery Co.
  BMO Harris Bank N.A.
  BNP Paribas
  Board of Water, Light and Sinking Fund Commissioners
  BP Energy CO.
  Brenntag
  Bruce Power
  Burns, John W.
  BWXT Nog Technologies Inc.
  Cable USA Inc.
  California, State of
  Cameco Corporation
  Cameron Measurement Systems

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  Canberra Industries Inc.
  Cartus Formally Cendant Mobility
  Cascade Natural Gas
  CA‐The Concourse Limited Partnership
  CB&I Contractors, Inc.
  CBS Corporation
  CDW Computer Centers, Inc.
  Century Link ‐ Voice ‐ Ogden
  Ceradyne Inc.
  CEZ, A. S.
  CH2MHill Plateau Remediation Company
  Chattanooga Gas
  Chicago Bridge & Iron Company (Delaware)
  Chicago Bridge & Iron Company, N.V.
  China Telecom Beijing Co.
  China Unicom Beijing Co.
  Chromalox
  Cigna Corp.
  Citibank, N.A.
  Citizens of Georgia Power
  City of Aurora, Tax Licensing Division
  City of Chicago Department of Finance
  City of Dalton, Georgia, The
  City of Mobile Alabama Tax Collector
  City of New Orleans ‐ Sales Tax Division
  Clean Harbors Environmental Svcs.
  CNA Surety
  Colorado Department of Revenue
  Comcast Corporation
  ComEd
  Computershare Inc.
  ConEd (Consolidated Edison)
  Connecticut Secretary of State Document Review
  Consolidated Communications
  Constellation Energy Nuclear Group
  Santee Cooper
  Corey, Nina A.
  Crane Nuclear Inc.
  Crawford & Co.

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  CSC Computer Sciences Corp.
  CSC Consulting Inc.
  Curtiss Wright
  Cvc Nominees Ltd.
  CVS Caremark
  Daikin Applied Americas Inc.
  Delaware Dept. of State
  Department of Energy
  Deutsche Bank AG
  DHI.DHW Group Co. LTD
  DirecTv
  DirecTv Sports Net Pittsburgh LLC
  Dominion
  Doosan Babcock Ltd
  DRS Consolidated Controls Inc.
  Ducera Partners (SCANA Advisors)
  Duke Energy
  Duquesne Light Company
  E.ON Generation GmbH
  Eagle Technologies Group
  Earthlink Business
  Eaton Corporation
  EDF ‐ Ceidre
  Emerson Industrial
  Emirates Nuclear Energy Corporation
  EnBW Energie Baden‐W?rttemberg AG
  Energy & Process Corporation
  Energy Northwest
  Energy Solutions Government Group, Inc.
  Energy Steel & Co.
  Energy Steel And Supply Co
  Enersys Delaware Inc.
  ENGIE
  Entergy
  EPM ‐ Fisher Controls Intl Inc.
  EPRI (Electric Power Research Institute)
  Erie Insurance
  ESKOM
  EvapTech

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  Eversource
  Exelon Business Services Co.
  Fairbanks Morse Engine, a division of Coltec Industries, Inc.
  Fairpoint Communications
  Federal Communications Commission
  Federal Insurance Company (CHUBB)
  Fifth Third Equipment Finance Company
  First Communications
  FirstEnergy
  Fisher & Phillips, LLP
  Fleet Bank‐NH
  Florida Department of Revenue
  Florida Power & Light Company (FPL)
  Florida, State of ‐ Department of Revenue
  Flowserve
  Fluor Corp.
  FPL Energy Point Beach, LLC
  Fragomen, Del Rey, Bernsen, & Loewy
  Framatome
  Freedom Specialty
  Frontier Communications
  Frontier Technology Corp
  Fujitsu Services Limited
  GE Canada
  GE Hitachi Nuclear Energy
  Gemeinschaftskraftwerk Weser GmbH & Co.
  General Cable Industries Inc.
  General Electric Company
  Georgia Power Company
  Georgia, State of
  Georgia, State of ‐ Department of Revenue
  Gerdau Ameristeel US Inc.
  Global Nuclear Fuel ‐ Japan Co. Ltd.
  Gowlings/Marsh Canada Limited
  Graftech International Holdings, Inc.
  Granite Properties
  Graver Technologies LLC
  Gray Plant Mooty
  Graybar Electric Co Inc.

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  Great America Financial Services Corporation
  Gregg Protection Services
  Gutor Electronics, LLC
  Hagemeyer North America, Inc.
  Hawaii State of, ‐ Department of Taxation
  Hendrickx
  Hitachi‐GE Nuclear Energy Ltd.
  Honeywell Inc.
  Hudson Americas LLC
  Iberdrola Generacion S.A.U.
  IBM Credit LLC
  Idaho Secretary of State Business Registration Division
  IHI Corporation
  Illinois Secretary of State
  Indiana Michigan Power Company
  Indiana Secretary of State
  ING Bank N.V.
  Insurance Company of the State of Pennsylvania, The
  Intergraph
  International SOS Travel Assistance
  Intertek Iberica Spain SLU
  Iowa Department of Revenue
  ITT Cannon Veam Italia S.R.L.
  Ivy Apollo Multi Asset Income Fund
  IX WR 3735 Glen Lake Drive, L.P.
  JBG/Commercial Management, L.L.C.
  Jones Day LLP
  Jones Lang LaSalle Americas, Inc.
  JPMorgan Chase Bank, N.A.
  Kansai Electric Power Company, Inc., The
  Kansas City Power & Light Company
  Kansas Gas and Electric Company
  Kansas Secretary of State
  Kema‐Powertest LLC
  Kennametal Deutschland GmbH
  Kentucky Secretary of State, Office of
  KEPCO
  Kernkraftwerk Brokdorf GmbH & Co. oHG
  Kilpatrick Townsend & Stockton, LLP

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  KSB Aktiengesellschaft
  Kurtzman Carson Consultants LLC
  Larsen & Toubro
  Latham & Watkins LLP
  Lazard
  Leidos Engineering LLC
  Level 3 Communications LLC
  Lewis, Mark B.
  Liberty Mutual Insurance Company
  Lincoln Electric Company
  Lloyd’s Syndicate
  LMT Div. Curtiss‐Wright Flow Control
  Louisiana Secretary of State
  Louisiana, State of ‐ Department of Revenue
  Lynx Technology Partners Inc.
  Maine Depart. of the Secretary of State –Div. of Corporations Reporting & Information
  Section
  Marsh GmbH
  Martin Marietta Aggregates
  Maryland, State of
  Maryland, State of ‐ Comptroller
  Massachusetts Department of Revenue
  MB Financial Bank, N.A.
  Mecklenburg County Tax Collector (NC)
  Meggitt France
  Memphis (TN), City of, Treasurer
  Merrill Lynch
  Metal Improvement Co. LLC
  Metropolitan Council
  Metropolitan District, The
  Metropolitan Life Insurance Co.
  Michigan Department of Natural Resources (MDNR)
  Michigan Department of Treasury
  Michigan, State of
  Midcap Financial Trust
  Milbank, Tweed, Hadley & McCloy LLP
  Ministerio De Hacienda Y Administraciones Publicas
  Ministry of Economy, UAE
  Minnesota Life Insurance Company

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  Minnesota, State of – Dept. of Revenue
  Mirion Technologies
  Missouri Department of Natural Resources
  Mistras Group Inc.
  Mitsubishi Corporation
  Mitsui
  Mizuho (USA) Leasing & Finance Corporation
  Montana Secretary of State’s Office
  Munich Re
  NASA
  National Union Fire Insurance Company (AIG)
  National Union Fire Insurance, et. al
  Navitas Lease Corp.
  Nebraska Public Power District
  Nebraska Secretary of State
  Nevada Secretary of State Commercial Recordings Division
  New Hampshire Secretary of State
  New Jersey State of ‐ Department of the Treasury, Division of Taxation
  New Mexico Secretary of State, Office of
  New York State Department of State
  Newport News Industrial Corp.
  Nextera Energy Point Beach, LLC
  Nextira One LLC d/b/a Black Box
  Nichols, Daniel
  Nicor Gas
  North Carolina Department of Revenue
  North Carolina Mecklenburg County
  North Carolina, State of
  Northeast Utilities Service Company
  Northern States Power Company
  Nova Machine Products Corp.
  Nuclear Fuel Services Inc.
  Nuclear Management Company, LLC
  Nuclear Power Institute of China
  Nuclear Regulatory Commission (NRC)
  NuGen
  NYC Department of Finance
  Obayashi Corp.
  Oglethorpe Power Company
                                                 8

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  Ogletree, Deakins, Nash, Smoak & Stewart, PC
  Ohio Department of Taxation
  OKG AB
  Oklahoma Secretary of State
  Omaha Public Power District
  OneBeacon Insurance Company
  Ontario Power Generation (OPG)
  Oracle
  Oregon, State of
  Pacific Gas and Electric Company (PG&E)
  Pall Gmbh
  Palmetto Health
  Parker Hannifin AB
  Parker Poe Adams & Bernstein LLP
  Paul, Weiss Rifkind & Garrison LLP
  PCC Structurals
  PCI Energy Services LLC
  Peerless Manufacturing Co
  Penn Power (Firstenergy of PA)
  Pennsylvania Power and Light Company
  Pennsylvania, Commonwealth of
  Pension Benefit Guaranty Corporation
  Peoples Natural Gas
  Personal Communications
  PJT Partners Inc.
  Plumbers & Pipefitters 562
  PNC Bank, National Association
  PreussenElektra GmbH ‐ Kernkraftwerk Brokdorf
  Pricewaterhouse Coopers LLP
  Princeton Credit Corporation
  Progress Energy Carolinas, Inc.
  Proskauer Rose LLP
  PSEG Nuclear LLC
  Public Service and Gas Company
  Putzmeister America Inc.
  PWR Owner's Group
  Questar Gas
  Ramsey County (MN)
  Reed Smith LLP

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  Republic Services
  Rhode Island Department of State ‐Secretary of State
  Rinaldi, Finkelstein & Franklin, LLC
  Rio Tinto Uranium
  Rocky Mountain Power
  Rolls Royce
  Rosemount Analytical Inc.
  Rothschild & Co.
  Royal and Sun Alliance Insurance PLC
  Royal Bank of Scotland PLC (the)
  RSCC Wire & Cable LLC
  RWE
  Ryerson
  San Diego Gas & Electric Company
  Sandvik SMT EMEA AB
  Santa Clara County Tax Collector
  SAP America Inc.
  Sargent & Lundy
  SC State Ports Authority
  Scana Energy Marketing
  Scientech, a Business Unit of Curtiss
  Seyfarth Shaw LLP
  SGL Carbon Gmbh
  Shaw Constructors Group, Inc.
  Shearman & Sterling LLP
  Siemens AB
  Skadden, Arps, Slate, Meagher & Flom LLP (Toshiba Advisors)
  Skandinaviska Enskilda Banken AB (publ)
  SKODA JS A.S.
  SMBC
  Solvay Fluorides LLC
  Sompo Japan Insurance Company of America
  South Carolina Department of Health and Environment Control
  South Carolina Electric & Gas Company
  South Dakota Secretary of State
  South Texas Nuclear Operating Company
  Southern California Edison Company
  Southern Company Services, Inc.
  Southern Nuclear Company

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  Spok Inc.
  Sprint
  SPX Corp Copes Vulcan Operation
  St. Charles Parish School Board Sales and Use Tax Department (Louisiana)
  STARS Alliance
  Starwood Capital
  State Power Investment Corporation
  Steadfast Insurance Company
  Sulzer Chemtech Ltd.
  Sumitomo Corporation Europe Limited
  SWAGELOK
  System Energy Resources, Inc.
  TV Saarland Bildung
  Taff, Michael S.
  Teachers Insurance and Annuity Association of America
  Tengizchevroil
  Tennessee Valley Authority
  Tennessee, State Board of Equalization
  Texas Comptroller of Public Accounts
  Texas Utilities Electric Company
  Time Warner
  T‐Mobile
  Toshiba Corporation
  Toshiba Corporation Power Systems Company
  Transcanada
  Transport Logistics International
  Tronox Speciality Alkali Corp.
  Turner Construction Company
  TXU Electric
  U S Customs
  U.S Fish & Wildlife Service
  U.S. Army Corps of Engineers
  U.S. Bank
  U.S. Coast Guard
  U.S. Customs and Border Protection
  U.S. Department of Energy
  U.S. Department of Health & Human Services
  U.S. Department of Transportation
  U.S. Environmental Protection Agency

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  U.S. Federal Aviation Administration
  U.S. Nuclear Regulatory Commission
  U.S. Specialty Insurance Company (HCC)
  Ultra Electronics Limited
  UniCredit
  Uniper Anlagenservice GmbH
  United Rentals
  United States ‐ Department of the Treasury – IRS
  United States Attorney’s Office for the District of Delaware
  United States Attorney’s Office for the Southern District of New York
  United States Department of Energy (DOE)
  United States Enrichment Corporation
  Unitil
  Uranium One Inc.
  US ‐ Department of Defense (DOD)
  US ‐ Department of Health and Human Services (HHS)
  US ‐ Department of Transportation (DOT)
  US ‐ Environmental Protection Agency (EPA)
  US ‐ Internal Revenue Service
  US ‐ Occupational Safety and Health Administration (OSHA)
  US Bank Transportation Solutions
  US Ecology Idaho, Inc.
  US Security Associates Inc.
  Utah, State of
  UT‐Battelle, LLC
  Vattenfall AB
  Verizon
  Vermont Secretary of State
  Vigor
  Virginia Electric & Power Company, d/b/a Dominion Virginia Power
  Virginia State Corporation Commission
  Vistra Energy (Luminant)
  Wachs Energy Services Company
  Wachtell, Lipton, Rosen & Katz
  Walter Davis
  Washington, State of
  Waste Management North
  Watlow Electric Mfg Co.
  Weed Instrument d/b/a Ultra Electronics

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  Weil, Gotshal & Manges LLP
  Wells Fargo Bank, N.A.
  Western Surety Company
  Westinghouse Electric Company (Delaware) LLC
  Williams Scotsman Inc.
  Wisconsin Electric Power Company
  Wisconsin Public Service Corporation
  Wolf Creek Nuclear
  Wyoming Secretary of State
  Xcel Energy
  Zetec Inc. (FR) – Struers
  ZionSolutions
  Zurich American Insurance Company




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                                             Exhibit C

                                         Engagement Letter




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